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                               SO ORDERED: August 31, 2012.




                               ______________________________
                               Basil H. Lorch III
                               United States Bankruptcy Judge




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 In re:                                                 )
                                                        )
 EASTERN LIVESTOCK CO., LLC,                            )                     Case No. 10-93904-BHL-11
                                                        )
                          Debtor.                       )

                     ORDER OVERRULING RENEWED OBJECTIONS TO
                     EMPLOYMENT OF FAEGRE BAKER DANIELS LLP


          This matter is before the Court on "renewed" objections and joinders thereto (the

 "Renewed Objections") opposing the continued employment of Faegre Baker Daniels LLP

 (“FBD”) 1 as general bankruptcy counsel to the chapter 11 trustee, James A. Knauer (the

 “Trustee”). The Court held an omnibus hearing in this case on August 20, 2012 (the "Hearing").

 As part of the matters addressed at the Hearing, the objectors and the Trustee presented evidence

 and arguments on the matters discussed in this Order and stipulated to the admission of

 deposition testimony and associated exhibits. On the facts and the law as found and concluded


 1
   At the beginning of this chapter 11 case, the law firm was Baker & Daniels LLP. On January 1, 2012, the firm
 merged with another firm and the name was changed to Faegre Baker Daniels LLP. The Court will refer to the firm
 before and after the merger as FBD.
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 herein, the Court now OVERRULES the Renewed Objections, subject to the adjustment of fees

 for which FBD may apply in the future. The Court makes the following findings of fact and

 conclusions of law in support of its Order.

                                         Findings of Fact

        A.      Eastern Livestock Co., LLC ("ELC" or "Debtor") was for many years until

 November of 2010 engaged in cattle transactions. ELC's principal owner, Thomas P. Gibson,

 and another employee of ELC were indicted by a federal grand jury and charged with mail fraud;

 they remain under indictment in the United States District Court for the Western District of

 Kentucky.    Further, Mr. Gibson and others pled guilty to and were convicted of criminal

 syndication and many dozen counts of theft in the Metcalfe (Ky.) Circuit Court in connection

 with the check kiting scheme and other wrongful actions they caused ELC to commit.

        B.      Prior to ELC's demise, ELC's principal lender was Fifth Third Bank ("Fifth

 Third"). Fifth Third extended credit to ELC by way of a secured revolving line of credit (the

 "Loan"). The Loan was and is evidenced by and secured pursuant to a promissory note, security

 agreement and certain other loan documents (the "Loan Documents"). The Loan was secured by

 ELC's grant to Fifth Third of security interests in ELC's inventory, accounts receivable and

 generally all of ELC's assets (the "Collateral"). Under the Loan Documents and as part of the

 Loan, Fifth Third had extended to ELC the maximum principal credit of $32.5 million as of the

 cessation of ELC's normal business operations in early November 2010.

        C.      On February 9, 2005, Fifth Third and Wells Fargo Business Credit, Inc.

 ("WFBC") entered into the Participation Agreement By and Between Wells Fargo Business

 Credit, Inc. and Fifth Third dated as of February 9, 2005 (the "Participation Agreement"). This

 Court has reviewed the Participation Agreement. Under the Participation Agreement, WFBC



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 purchased from Fifth Third an "undivided fractional and continuing participation interest (the

 'Participation') equal to…" a certain dollar amount.         That dollar amount is calculated by

 multiplying 30.76923% times the "Participated Credit Amount." The dollar amount of the

 Participation was capped at $10 million. The Court understands that, as of the petition date, the

 Participated Credit Amount was $32.5 million dollars; therefore, the amount of the Participation

 was, on that date, $10 million. In the Participation Agreement, Fifth Third is denominated as the

 "Lead" and WFBC is denominated as the "Participant." Fifth Third solely holds the Loan and, as

 the Lead, retains the exclusive right to decide how to service, administer and manage the Loan

 and is authorized to use its sole discretion in exercising or failing to exercise any right or in

 taking any action to enforce rights or remedies under the Loan Documents. Fifth Third, as the

 Lead, is empowered to take all actions it deems necessary to collect any obligations of ELC, as

 borrower, including foreclosing against the Collateral. The Participation Agreement does not

 include any assignment from Fifth Third to WFBC, as Participant, of any interest in any of the

 Loan Documents or the Collateral. Fifth Third, as Lead, is not obligated to segregate any funds

 collected from ELC or to hold any such collections in trust for the Participant. Instead, the

 Participation Agreement creates a contractual obligation by Fifth Third, as Lead, to pay to the

 Participant dollar amounts calculated by multiplying the Participation percentage by the amount

 of money collected by Fifth Third from ELC or realized by Fifth Third from the Collateral. The

 Participant has no right to assert any claim against ELC or enforce any lien rights in or against

 any assets of ELC that serve as the Collateral. The Participation Agreement expressly provides

 that,

               The Participant will have no standing with respect to the Participation in
               any proceeding involving Borrower [ELC] under the United States
               Bankruptcy Code, any state insolvency laws or which otherwise involve
               the Borrower, and no claim, dispute, accounting or other issue pertaining
               to the Participant's relationship with the Lead under this Agreement shall

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                     be heard or disposed of in any such proceeding relating to the Borrower.

            D.       This chapter 11 case ("Chapter 11 Case") was commenced some twenty months

 ago by the filing of an involuntary petition under § 303 2 against ELC on December 6, 2010. Mr.

 Knauer was appointed Trustee of the Debtor's estate on December 27, 2010. Prior to the filing,

 Mr. Gibson and all other officers of ELC had resigned, and ELC was controlled by a receiver

 appointed by an Ohio Court in an action commenced by Fifth Third. On December 7, 2010,

 certain petitioning creditors filed an "Emergency Motion to Appoint Trustee and Authorizing

 and Directing a Trustee to Operate Business" [Doc. 27]. On December 16, 2010 the Court

 granted that motion and directed the United States Trustee for Region 10 ("UST") to appoint a

 trustee in the Chapter 11 Case pursuant to § 1104 [Doc. 77]. On December 23, 2010, the UST

 filed its Notice of Submission of Notice of Appointment and Application for Order Approving

 Appointment of Trustee [Doc. 98] ("UST Application"). ELC is no longer in business and the

 Trustee is in the process of collecting and liquidating assets. A significant portion of the

 collection and liquidation involves litigation and the Trustee is a party to numerous actions

 including four interpleader actions originally filed in Texas, Wisconsin, Kansas, and Colorado,

 which were removed and transferred to this Court. No unsecured creditors' committee has been

 appointed in this Chapter 11 Case.

            E.       On or about December 26, 2010, the Trustee asked FBD to represent the Trustee

 in the Chapter 11 Case as general bankruptcy counsel. FBD was then representing Fifth Third

 ("FBD/Fifth Third Representations") on matters unrelated to ELC or the Chapter 11 Case. FBD

 sought and, on December 27, 2010, Fifth Third granted FBD a conflict waiver and consent to

 FBD's representation of the Trustee ("Fifth Third Conflict Waiver"), which was confirmed by an

 email from a Fifth Third employee. The email excludes from the scope of the waiver FBD’s

 2
     All statutory citations herein are to the Bankruptcy Code.

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 representation of the Trustee in matters that are “adversarial or litigious.” In her testimony, the

 FBD partner who manages the firm’s representation of the Trustee maintained that FBD

 understood the phrase to be redundant, and that Fifth Third withheld its consent to FBD’s

 representation of the Trustee only in adversary proceedings or actions which pitted the Trustee

 directly against Fifth Third. The objecting parties, in contrast, insist that the ambiguous phrase

 prohibits FBD from advising the Trustee in any manner that is not aligned with Fifth Third’s

 interests. FBD informed the Trustee that it had received the Fifth Third Conflict Waiver and that

 the Trustee would need to employ special conflicts counsel to represent the Trustee should he

 decide to sue Fifth Third.

          F.       On or about December 28, 2010, a lawyer at Kutak Rock LLP emailed FBD

 regarding the Trustee's intended employment of FBD and advised that he represented "Wells

 Fargo" in connection with its participation interest in the Loan and that FBD should contact in-

 house counsel at Wells Fargo & Company to request a conflict waiver. FBD then represented

 affiliates of Wells Fargo & Company ("FBD/Wells Representations"). FBD then sought and

 received a written conflict waiver ("Wells Conflict Waiver"). 3 FBD advised the Trustee of the

 FBD/Wells Representations, the Wells Conflict Waiver and that FBD did not intend to include a

 disclosure of the FBD/Wells Representations in the affidavit it would be required to file by Fed.

 Bankr. P. 2014 in support of its application to be employed by the Trustee.

          G.       On December 30, 2010, the Trustee filed his Application to Employ Baker &

 Daniels LLP as Counsel for Trustee [Doc. 113] (the "Employment Application").                                    The


 3
   The Participation Agreement identifies WFBC as the owner of the Participation. There are dozens, if not
 hundreds, of subsidiaries and affiliates of Wells Fargo & Company. The term "Wells Fargo" is not used precisely in
 the Wells Conflict Waiver, which does not distinguish among Wells Fargo entities. The evidence showed that it was
 Wells Fargo’s policy to require such ambiguity in conflict waivers executed for the benefit of its outside counsel. At
 some point, WFBC was either merged into another Wells Fargo entity or the participation was assigned or sold to
 another Wells Fargo affiliate. Because it is not relevant to this Court's reasons for denying the relief sought by the
 Objectors, the Court will simply refer to the Participant as the "Wells Participant".

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 Employment Application sought to retain FBD to represent the Trustee with regard to a number

 of matters including "representation with regard to investigation and prosecution of demands,

 claims, and causes of action that the Trustee may hold."               To support the Employment

 Application, the FBD partner who manages the representation submitted an affidavit [Doc. 114]

 that disclosed the FBD/Fifth Third Representations and the Fifth Third Conflict Waiver as

 follows:

                The Firm [FBD] currently represents Fifth Third in matters unrelated to
                the chapter 11 case or the Debtor. Fifth Third is a creditor of the estate
                and has consented to the Firm's representation of the Trustee. However,
                Fifth Third has not consented to the Firm's representation of the Trustee
                with respect to any adversary proceeding or other action that the Trustee
                may commence directly against Fifth Third. The Firm has advised the
                Trustee of this exception to the consent received from Fifth Third and the
                Trustee accepts this exception... In the event a conflict develops, the
                Firm will assist the Trustee in hiring conflicts counsel and notify the
                Court and the U.S. Trustee.

 The affidavit was filed and served on all parties in the Chapter 11 Case, including counsel for

 Fifth Third.

        H.      On January 10, 2011, First Bank filed its Objection of The First Bank and Trust

 Company to Application to Employ Baker & Daniels LLP as Counsel to Chapter XI Trustee

 [Doc. 181] (the "Original Objection").              The Original Objection challenged FBD’s

 disinterestedness based on the FBD/Fifth Third Representations.

        I.      On January 18, 2011, the Trustee filed an application to employ the law firm of

 Hoover Hull LLP as special conflicts counsel ("Special Conflicts Counsel") [Doc. 219]. In that

 application the Trustee advised the Court that "Hoover Hull's primary role as special counsel to

 the Trustee will be to investigate and prosecute claims and objections against Fifth Third or

 claims asserted by Fifth Third in this case." On February 10, 2011, the Court approved the

 employment of Hoover Hull as Special Conflicts Counsel [Doc. 267].


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          J.    On January 24, 2011, FBD filed an amended affidavit [Doc. 235] that disclosed

 that FBD had been contacted by First Bank for possible employment in this Chapter 11 Case but

 that the FBD had not been employed by First Bank. The amended affidavit included for a

 second time the disclosures of the FBD/Fifth Third Representations and the Fifth Third Conflict

 Waiver. The amended affidavit was filed and served on all counsel including counsel for Fifth

 Third.

          K.    On January 27, 2010, apparently satisfied by the measures taken to redress FBD’s

 conflict with Fifth Third, First Bank withdrew its Original Objection [Doc. 241]. First Bank

 explained in that paper that it acted “[i]n reliance upon the amended affidavit and the retention of

 special counsel.”

          L.    On February 1, 2011, in the absence of an objection, the Court entered its Order

 Granting Application to Employ Baker & Daniels LLP as Counsel to Chapter 11 Trustee [Doc

 248] (the “Employment Order”). The Court determined that, by virtue of the engagement of

 Special Conflicts Counsel, FBD met the standard of disinterestedness established by § 327

 notwithstanding the FBD/Fifth Third Representations.        The Employment Order granted the

 Employment Application "on a final basis."

          M.    On February 4, 2011, Fifth Third filed its proof of claim [Claim No. 13] (the

 "Fifth Third POC") asserting a claim, as the sole and exclusive holder of the claim, with respect

 to the Loan and the Loan Documents. The Fifth Third POC does not purport to assert any claim

 on behalf of the Wells Participant in any agency or other representative capacity. The firm of

 Vorys, Sater, Seymour and Pease LLP has appeared for Fifth Third and has been continuously

 active in the Chapter 11 Case, representing Fifth Third as the sole holder of the claims asserted

 based on the Loan.



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          N.       On December 8, 2011, Bluegrass et al. 4 filed an Objection to Professional Fee

 Applications of (1) James A. Knauer, Chapter 11 Trustee; (2) Hoover Hull LLP; and (3) Baker &

 Daniels LLP on December 8, 2011 [Doc. 873] (the "Bluegrass Fee Objection"). The Bluegrass

 Fee Objection questioned the disinterestedness of the Trustee and FBD with respect to both Fifth

 Third and Wells Fargo and asked as relief for the Court to order the Trustee and FBD to make

 supplemental disclosures with respect to Fifth Third and Wells Fargo. 5 The Bluegrass Fee

 Objection specifically referred to Wells Fargo as a “loan participant” and indicated that the

 information was contained in the Fifth Third POC. The Bluegrass Fee Objection was heard on

 December 14, 2011, and was overruled as to FBD in its entirety by a final order of this Court

 entered December 19, 2011 [Doc. 917].

          O.       On July 10, 2012, First Bank filed its Renewal of Objection of The First Bank and

 Trust Company to Application to Employ Baker & Daniels LLP (nka Faegre Baker Daniels LLP)

 as Counsel to Chapter 11 Trustee [Doc. 1238] (the "Renewed Objection").                              On July 30,

 Bluegrass et al. filed their "Creditors' Joinder in The First Bank and Trust Company's Objection

 to Employment of Baker & Daniels LLP (n/k/a Faegre Baker Daniels LLP) as Counsel to

 Chapter 11 Trustee and First Bank's Request for Order Terminating Employment" (the

 "Bluegrass Joinder") [Doc. 1279].             On August 23, 2012, Superior Livestock Auction, Inc.

 (“Superior”) filed a Joinder in Motions by Superior Livestock Auction, Inc. [Doc. 1377],


 4
   Bluegrass et al. refers to the following parties represented by the DelCotto Law Group, LLC: Bluegrass
 Stockyards East, LLC, Bluegrass Stockyards, LLC, Bluegrass-Maysville Stockyards, LLC, Bluegrass Stockyards of
 Richmond, LLC, Bluegrass South Livestock Market, LLC, Bluegrass Stockyards of Campbellsville, LLC, East
 Tennessee Livestock Center, Inc., Southeast Livestock Exchange, LLC, Moseley Cattle Auction, Inc., Piedmont
 Livestock Company, Inc. and Alton Darnell.
 5
   First Bank states in its Renewed Objection that it first learned on June 26, 2012 that the Trustee and FBD had been
 representing "Wells Fargo Bank". However, Bluegrass et al. challenged the relationships of the Trustee and FBD
 with "Wells Fargo" in the Bluegrass Fee Objection. Other parties, including First Bank, objected to the interim fee
 applications of the Trustee, FBD, and Special Counsel. All of the objections were overruled and the interim fee
 applications were approved.

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 pursuant to which Superior joined in the Renewed Objection and the Bluegrass Joinder. First

 Bank, Bluegrass et al., and Superior are referred to collectively herein as "Objectors". 6

          P.       On July 23, 2012, the Trustee filed his proposed Disclosure Statement [Doc.

 1256] ("Disclosure Statement") and Chapter 11 Liquidating Plan [Doc. 1255] ("Plan"). The Plan

 proposes to settle all of the estate's claims against Fifth Third in exchange for Fifth Third paying

 up to 20% of the collected proceeds of its Collateral to “opt in” general unsecured creditors and

 further allowing its Collateral to fund about two-thirds of the ongoing administrative costs of the

 Chapter 11 Case (the remaining third to be assessed against chapter 5 recoveries). To receive

 payment from the Fifth Third Collateral, creditors will be given the option to “opt in” to the

 settlement by releasing their individual claims against Fifth Third.

          Q.       Two Minute Entries on December 7 and 13, 2010 reflect the telephonic

 attendance of a lawyer for Wells Fargo Capital, in two public hearings that took place early in

 the Chapter 11 Case before the Trustee was appointed [Docs. 28 and 68]. No lawyer has filed a

 formal appearance in the Chapter 11 Case on behalf of the Wells Participant or any Wells Fargo

 entity. The Wells Participant has not filed a proof of claim and the Wells Participant has not

 sought to raise or be heard on any matter in the Chapter 11 Case.

          R.       Wells Fargo attorneys and employees participated in conference calls among the

 Trustee; his financial advisors, DSI; FBD; and Fifth Third and its counsel. The Trustee testified


 6
   On August 10, 2012, a lawyer filed a pro hac vice motion [Doc. 1323] stating that he represented the Kentucky
 Cattlemen's Association ("KCA"). He also filed on behalf of KCA a motion concurring in the Bluegrass Joinder and
 requested the termination of FBD as counsel to the Trustee [Doc. 1324] ("KCA Motion"). Because the Court finds
 and concludes that KCA is neither a creditor nor a party in interest in this Chapter 11 Case, KCA does not have
 standing to seek relief and the Court now denies the KCA Motion. See In re James Wilson Assocs., 965 F.2d 160,
 169 (7th Cir. 1992); In re Ionosphere Clubs, Inc., 101 B.R. 844 (S.D.N.Y. 1989) (holding that interest asserted by
 Consumers Union as the "protector of consumers" was not a legally protectable interest allowing it to intervene or
 interfere in the debtor's bankruptcy case). However, the Court did allow counsel for KCA to address the Court
 orally at the Hearing and will continue to allow him to be heard, which is consistent with the Court’s usual practice
 when concerned citizens wish to be heard in any chapter 11 case.


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  that Wells Fargo’s participation was requested by Fifth Third as a matter of efficiency to avoid

  the necessity of repeating the information. FBD participated in such calls at the request of the

  Trustee to provide information to Fifth Third about the status of the litigation.

          S.      Each of the Objectors are or may become involved in litigation with the Trustee.

  First Bank, for instance, has filed two proofs of claim in the Chapter 11 Case asserting two

  secured claims. Because First Bank did not make any loan to or otherwise do business with

  ELC, however, the Trustee has taken the position that First Bank is not a secured creditor of

  ELC, and, in fact, the Trustee contends that First Bank is not a creditor of ELC at all.

          T.      Bluegrass Stockyards and a variety of related entities (who are referred to as the

  "Bluegrass Entities") are some of the movants that filed the Bluegrass Joinder. The Bluegrass

  Entities are defendants in a pending adversary proceeding commenced by the Trustee seeking to

  avoid and recover from the Bluegrass Entities alleged fraudulent preferential transfers (the

  "Bluegrass Avoidance Action").        If the Trustee is successful with respect to the Bluegrass

  Avoidance Action, then the Bluegrass proof of claims will not be allowable unless and until the

  Bluegrass Entities disgorge the amounts adjudged to be owing to the ELC estate.

          U.      Superior and the Trustee are engaged in at least four separate litigation matters

  before this Court. The Trustee believes that Superior, by assigning some 500 of the Debtor's

  cattle contracts to itself prepetition, holds significant assets of the estate that the Trustee is trying

  to recover. Superior contests this and claims that the assignments it received prepetition are not

  avoidable under applicable law.

          V.      FBD has served as general bankruptcy counsel to the Trustee for more than

  nineteen months. The Trustee, with FBD's assistance, has commenced more than nineteen

  adversary proceedings by which the Trustee is seeking to recover millions of dollars on behalf of



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  the ELC estate. The Trustee is now holding significant funds, constituting millions of dollars, as

  to which the rights of various parties are yet to be determined.

                                         Conclusions of Law

         Incorporating the foregoing findings of fact as if fully restated herein, the Court issues the

  following conclusions of law.

         1.      This Court has jurisdiction over the matters raised and determined herein pursuant

  to 28 U.S.C. § 1334 and Local Rule 83-8(a). This is a core proceeding under 28 U.S.C. §

  157(2)(A), as it concerns the administration of the bankruptcy estate of the Debtor.

         2.      The appearance of neutrality is very important to maintaining the public trust in

  bankruptcy cases and proceedings. This is particularly true in this case, which arose out of a

  massive fraud and where creditors’ suspicions are understandably heightened. Counsel seeking

  to be employed to represent a debtor or a trustee should err on the side of caution in making

  disclosures of connections that could cause the appearance of impropriety. See, e.g., United

  States v. Gellene, 182 F.3d 578 (7th Cir. 1999). The considerable consternation and effort

  occasioned by disclosure issues in this Chapter 11 Case are an object lesson on the wisdom of a

  forthcoming and openhanded approach to disclosures that goes beyond the minimum required by

  the law. Even though the Court believes that had the disclosure of the Wells Conflict Waiver

  been made with the Employment Application it would not have affected FBD being employed,

  FBD made a poor choice not to disclose the FBD/Wells Representations and the Wells Conflict

  Waiver.

         3.      The Renewed Objections are improper as they attempt to resurrect an objection

  that was finally determined by the Employment Order. Neither the unilateral assertion of the

  right to renew an objection nor the inclusion of a qualification in a paper withdrawing an



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  objection has the effect of holding in suspense a final order of this Court. First Bank’s Renewed

  Objection on its face "asks the Court to sustain the original Objection." In order to seek relief

  from the Employment Order, First Bank would need to comply with Fed. R. Bankr. P. 9024,

  which incorporates Fed. R. Civ. P. 60. Under Fed. R. Civ. P. 60(b), a motion for relief from a

  final order must be made within a reasonable time, and if, as here, it is made for certain reasons, 7

  it may be filed no later than one year after the entry of the judgment or order. The Renewed

  Objections seek relief from a final order. They are untimely, having been filed more than

  seventeen months after the entry of the Employment Order. As one court observed,

                    Delay in bringing any motion to disqualify counsel is generally frowned
                    on because of the disruption it would cause to the case. This is
                    especially so in a bankruptcy reorganization in which a disruption, in
                    addition to causing delay in getting a decision or a judgment or payment
                    of money, causes a loss of value—value that cannot be regained.

  In re Enron Corp., 2002 WL 32034346 at *4 (Bankr. S.D.N.Y. 2002).

           4.       A second procedural reason to deny the Renewed Objections is that the issues

  related to FBD’s relationship with Wells Fargo were previously raised in 2011 by the Bluegrass

  Fee Objection, which was overruled nearly ten months ago.

           5.       Putting aside procedure, on the merits, the Objectors have not demonstrated that

  FBD is not disinterested within the meaning of § 327, and the Court reaffirms its conclusion that

  FBD is qualified to represent the Trustee in the capacity it has done so and will continue to do so.

           6.       Convincing precedents, including case law from the Seventh Circuit, suggest that

  a secondary participant in a loan like the Loan, where the rights of the secondary participant are

  entirely derivative of the right of the lead participant, is neither a creditor nor a party in interest

  in a bankruptcy case. See, e.g., In re Auto Style Plastics, Inc., 269 F.3d 726 (6th Cir. 2001); In re
  7
    A motion for relief from a final order is subject to the one-year rule if it is based on (1) mistake, inadvertence,
  surprise, or excusable neglect; (2) newly discovered evidence that, with reasonable diligence, could not have been
  discoverable; and (3) fraud, misrepresentation, or misconduct by an opposing party. Fed. R. Civ. P. 60(b).


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  James Wilson Assocs., 965 F.2d 160 (7th Cir. 1992); First Nat’l Bank of Louisville v. Cont’l Ill.

  Nat’l Bank & Trust Co. of Chicago, 933 F.2d 466 (7th Cir. 1991); In re Okura & Co. (America),

  Inc., 249 B.R. 596 (Bankr. S.D.N.Y. 2000).

           7.       Given (i) the advanced procedural posture of this Chapter 11 Case, (ii) the unique

  circumstance of the subsumption of Wells Fargo’s interest in the Loan by Fifth Third’s, (iii) the

  timely and adequate disclosure of FBD’s relationship with Fifth Third, and (iv) the determination

  the Court made in the Employment Order that FBD is qualified to represent the Trustee despite

  its relationship with Fifth Third, it is unnecessary for the Court to determine whether FBD was

  required to disclose the FBD/Wells Representations and the Wells Conflict Waiver when it

  initially submitted its Employment Application. Having considered the precedents interpreting

  Fed. R. Bankr. P. 2014, the Court concludes that the question is not explicitly controlled by

  binding precedent and sees no imperative to attempt to establish a bright-line rule at this

  juncture.

           8.       Even if there was a violation of Fed. R. Bankr. P. 2014 by FBD, the requested

  relief is not warranted on the record in this case. In these circumstances, the representation by

  FBD of Fifth Third, the debtor's sole lender, was disclosed. The Trustee could not bring any

  action against the Participant that would not as a threshold matter have to be brought first against

  Fifth Third.

           9.       The cases cited by the Objectors contain egregious facts that justified removal of

  the professionals. No analogous facts exist in this Chapter 11 Case. In contrast, the Court has

  found no evidence of undue influence by Wells Fargo on the Trustee or FBD. The Court has

  seen no evidence of bias by the Trustee or FBD in their handling of this Chapter 11 Case. 8


  8
   Bluegrass et al. lists facts and circumstances that they assert imply or evidence bias on the part of FBD. First
  Bank, for its part, stated at the Hearing that it is not asserting that FBD may have engaged in actual bias. The

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                                               Conclusion and Order

           The Court notes that the Objectors are or may be soon engaged in contentious lawsuits

  with the Trustee. The Objectors disagree with the legal conclusions reached by the Trustee in

  the Disclosure Statement. Such disagreements are matters better addressed by objections to the

  Disclosure Statement and Plan than by seeking to disqualify counsel. Granting the Renewed

  Objections would significantly delay the resolution of this case, entail massive administrative

  expenses and impair the ability of the Trustee to bring and prosecute recovery actions.

  Ultimately, the relief requested would significantly impair creditor recoveries. Removing FBD

  as the Trustee's counsel is not warranted.

           Nevertheless, the Court is convinced that the estate should not bear the burden of FBD’s

  deliberations over its disclosure requirements or FBD’s efforts to defend itself in the disputes

  addressed in this Order.           Accordingly, in its next fee application, FBD shall (i) seek no

  compensation for such matters, and (ii) shall deduct the amount equal to the compensation the

  Court has already approved for such matters from the fees it would otherwise be eligible to

  receive.

                                                           ###




  evidence does not support such a finding. While the Objectors obviously disagree with the Trustee's business
  judgment in many respects, there has been no showing of bias or undue influence. Some of the facts or
  circumstances identified by the Objectors as evidence of bias, such as the DIP financing order [Doc. 400] in which
  Fifth Third is given a superpriority administrative claim, are old arguments recast. The Objectors negotiated and
  agreed to the DIP financing order. To assert now that they find it to be evidence of bias in favor of Fifth Third (or
  the Wells Participant) is not convincing.

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